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IN THE UNITED sTATEs nlsTRlC'r coURT “[O£V
FoR THE WESTERN DISTRICT oF TENNESSEE 05 f `“--... w 0
EASTERN DIVISION “5//%/ ..3 P ` -C
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./3¢ ;i§i“f‘.»?r,; ‘?' 43
KENISHA GUTHRIE, /7'¢; ' 331 pf
rlaintirr,
vs. No. 1-05-1010 T/An

FAMILY DOLLAR STORES, INC.,

Dei`endant.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are

established as the final dates for:

INITIAL DlsCLosURES (RULE 26(a)(1))= June 21, 2005

JOINING PARTIES:
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For Plaintiff: August 5, 2005
For Defendant: September 7 , 2005
AMENDING PLEADINGS:
For Plajntiff: August 5, 2005
For Defendant: Septernber 7, 2005

COMPLETING ALL DISCOVERY: February 7, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
And REQUESTS FOR ADMISSIONS: February 7, 2006

‘H*\is document entered on the docket sheet ln com tlence
w}th Rule 58 and,'or_'fs (a) FRCP en _(£_l_(Lf_Qi__

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(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) PlaintiH:‘s Experts: December 7, 2005
(ii) Defendant's Experts: January 6, 2006
(iii) Supplementation under Rule 26(e): January 16, 2006

(e) DEPosITIoNS 0F EXPERTS: Febuaiy 7, 2006
FILING l)rsPoslTlvE Mo'rroNs= January 24, 2006
FINAL LlsTs oF wITNEssEs ANI) Exnlalrs (Ruie 26(=1)(3))=

(a) for Plaintiff: March 10, 2006
(b) for Defendant: March 24, 2006

Parties shall have 10 days after service of inal lists of witnesses and exhibits to tile objections
under Rule 26(a)(3).

The trial of this matter is expected to last two days and is SET for NON-JURY/JURY
TRIAL on Monday, April 24, 2006 at 9:30 A.M. A joint pretrial order is due on April 14, 2006. In
the event the parties are unable to agree on ajoint pretrial order, the parties must notify the court at
least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for completion
of discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery must
be submitted at least 30 days prior to the deadline for completion of discovery.

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Motions to compel discovery are to be filed and served by the discovery deadline or within 30
days of the default or service of the response, answer, or objection which is the subject of the motion
if the default occurs within 30 days of the discovery deadline, unless the time for Eling of such motion
is extended for good cause shown, or any objection to the default, response, or answer shall be
waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and
a Certiiicate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may
Ele an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to Hle a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

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The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a continuance is
agreed to by all parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoveg. '

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order_ will not be modified or extended.

IT IS SO ORDERED.
__________-
<§’ A s
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: §§ng QZ, BQAL

DAVID sTRlCKLAND ~#' 919 7.?
Attorney for Plaintifi`

P.O. Box 500

Martin, TN 33237

SPICER, FLYNN & RUDSTROM, PLLC

    

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(901) 522-2305

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case l:05-CV-010]0 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

